      Case 18-50010           Doc 22        Filed 04/07/18 Entered 04/08/18 00:53:18                  Desc Imaged
                                            Certificate of Notice Page 1 of 3

                                       UNITED STATES BANKRUPTCY COURT
                                          for the Western District of Virginia
                                                 Harrisonburg Division


 In re: Robert Locke Elliott, Jr.                               CASE NO. 18−50010

                                Debtor(s)                       CHAPTER 13




                                                ORDER DISMISSING CASE

            For the reasons set forth in the Notice or Motion, and for good cause shown, it is

                                                        ORDERED

that the above case(s) and all related pending motions and adversary proceedings arising therein, unless on appeal, be,
and the same hereby are, dismissed.
            It is further

                                                        ORDERED

that upon the trustee filing a final report herein, the same shall be deemed approved without further order, trustee's
bond shall be released and the trustee shall be discharged from further liability herein unless proper objection is
made to said final report within thirty (30) days after filing of same or such extended time as may be granted upon
proper application made within said thirty (30) day period. If the Discharge Order has been issued,
the same is recinded.
            If the case is a Chapter 13 case, it is further

                                                        ORDERED
that the employer, if heretofore ordered to do so, shall cease making deductions from debtor(s)' wages to be paid to
the trustee. In the alternative, if the debtor(s) established electronic payments to be paid to the trustee, the debtor
or the trustee, if able, should immediately cease all future scheduled payments, if any.
            Service of a copy of this Order shall be by mail to the debtor(s), attorney for the debtor(s),
trustee, employer, if applicable, U.S. Trustee, and all parties on the current mailing matrix.




Entered: 4/5/18


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                                               United States Bankruptcy Court
                                               Western District of Virginia
In re:                                                                                                     Case No. 18-50010-rbc
Robert Locke Elliott, Jr.                                                                                  Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0423-5                  User: spitzera                     Page 1 of 2                          Date Rcvd: Apr 05, 2018
                                      Form ID: van02                     Total Noticed: 25


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 07, 2018.
db             +Robert Locke Elliott, Jr.,    4 Weems Lane,   Box 203,    Winchester, VA 22601-3602
cr             +Wells Fargo Bank, National Association, as Trustee,     Shapiro & Brown, LLP,
                 501 Independence Pkwy,    Suite 203,   Chesapeake, VA 23320-5174
4531875        +Carolyn Fitzwater, Esq.,    11 S. Cameron Street,   Winchester, VA 22601-4731
4542999        +Commonwealth of Virginia,    102 Governor Street, Rm 205,    Richmond, VA 23219-3676
4556787         Directv, LLC,   by American InfoSource LP as agent,     PO Box 5008,
                 Carol Stream, IL 60197-5008
4531880        +Erin Elliott,   149 Lexington Court,    Stephens City, VA 22655-3819
4543004        +Frederick County Circuit Court,    5 North Kent Street,    Winchester, VA 22601-5037
4562024         Ocwen Loan Servicing, LLC,    Attn: Bankruptcy Department,    PO Box 24605,
                 West Palm Beach, Florida 33416-4605
4543005        +Office of the Attorney General,    Commonwealth of Virginia,    202 North Ninth Street,
                 Richmond, VA 23219-3424
4543000        +RCI North America,    9998 N. Michigan Rd,   Carmel, IN 46032-7766
4543001        +Sareen & Assoc Inc.,    1013 Aylor Rd,   Stephens City, VA 22655-3116
4547190        +Shapiro & Brown, LLP,    501 Independence Parkway, Ste 203,    Chesapeake, VA 23320-5174
4543002        +Valley Health,   220 Campus Blvd, Ste 310,    Winchester, VA 22601-2889
4531887         Virginia Department of Taxation,    Office of Compliance,    PO Box 27407,
                 Richmond, VA 23261-7407
4543003        +Winchester Medical Center,    Valley Health,   1840 Amherst Street,    Winchester, VA 22601-2808

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
4531877        +E-mail/Text: ned-collections_bankruptcydocuments@comcast.com Apr 05 2018 21:35:45       Comcast,
                 One Comcast Center,   Philadelphia, PA 19103-2899
4531878        +EDI: CONVERGENT.COM Apr 06 2018 01:39:00      Convergent Outsourcing, Inc,    Po Box 9004,
                 Renton, WA 98057-9004
4531876         E-mail/Text: bankruptcy@dss.virginia.gov Apr 05 2018 21:35:41       Child Support Va,
                 Bk Unit/DCSE,   2001 Maywill St Ste. 104,     Richmond, VA 23230
4531879        +E-mail/Text: bknotice@ercbpo.com Apr 05 2018 21:35:43       ERC/Enhanced Recovery Corp,
                 Attn: Bankruptcy,   8014 Bayberry Rd,    Jacksonville, FL 32256-7412
4531881        +EDI: PHINAMERI.COM Apr 06 2018 01:38:00      GM Financial,    PO Box 183593,
                 Arlington, TX 76096-3593
4531882         EDI: IRS.COM Apr 06 2018 01:39:00      Internal Revenue Service,    PO Box 7346,
                 Philadelphia, PA 19101-7346
4531883        +Fax: 407-737-5634 Apr 06 2018 08:36:13      Ocwen Loan Servicing, Llc,
                 Attn: Research/Bankruptcy,    1661 Worthington Rd Ste 100,    West Palm Bch, FL 33409-6493
4568123         E-mail/Text: ebn@vativrecovery.com Apr 05 2018 21:35:39       PALISADES COLLECTIONS, LLC,
                 VATIV RECOVERY SOLUTIONS LLC,    P.O. BOX 40728,   HOUSTON, TX 77240-0728
4531885         EDI: NEXTEL.COM Apr 06 2018 01:38:00      Sprint,   6200 Sprint Pkwy,    Overland Park, KS 66251
4531886        +E-mail/Text: bkr@taxva.com Apr 05 2018 21:35:45       Virginia Department of Taxation,
                 Taxing Authority Consulting Svcs PC,    PO Box 2156,    Richmond, VA 23218-2156
                                                                                              TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
4562113*          Ocwen Loan Servicing, LLC,   Attn: Bankruptcy Department,   PO Box 24605,
                   West Palm Beach, Florida 33416-4605
4562167*          Ocwen Loan Servicing, LLC,   Attn: Bankruptcy Department,   PO Box 24605,
                   West Palm Beach, Florida 33416-4605
4531884         ##Ocwen Loan Servicing, LLC.,   ATTN: Customer Service Department,   PO Box 785057,
                   Orlando, FL 32878-5057
                                                                                              TOTALS: 0, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 07, 2018                                            Signature: /s/Joseph Speetjens
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                              Form ID: van02              Total Noticed: 25

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 5, 2018 at the address(es) listed below:
              Beth C Driver   on behalf of Debtor Robert Locke Elliott, Jr. bdriver@hooverpenrod.com,
               hpnotices@gmail.com;shammack@hooverpenrod.com;hooverpenrodign@gmail.com;r44558@notify.bestcase.co
               m
              Herbert L Beskin(82)   hbeskin@cvillech13.net, bss@cvillech13.net
              Malcolm Brooks Savage, III   on behalf of Creditor   Wells Fargo Bank, National Association, as
               Trustee for Carrington Mortgage Loan Trust, Series 2006-OPT1, Asset Backed Pass-Through
               Certificates, Series 2006-OPT1 vabecf@logs.com
              USTrustee   USTPRegion04.RN.ECF@usdoj.gov
                                                                                            TOTAL: 4
